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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
                                          x
LUNIQUE AGOSTINI, on behalf of herself and all
Others similarly situated,                                  Civil Action No. 1:24-cv-4924

                Plaintiffs,

        -against-
                                                           NOTICE OF VOLUNTARY
HOBBY LOBBY STORES, INC.,                                  DISMISSAL


                Defendant.
                                                 x

        Plaintiff Lunique Agostini, by and through undersigned counsel and pursuant to Rule

41(a)(1)(A)(i) of the Federal Rules of Civil Procedure, hereby voluntarily dismiss this action with

prejudice.

        Dated: September 2, 2024



  By:        __________________

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